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   d/b/a ODEM INTERNATIONAL
11
12                                         UNITED STATES DISTRICT COURT

13                                         EASTERN DISTRICT OF CALIFORNIA

14 HENRY’S BULLFROG BEES, a California                    Case No. 2:21-CV-00582-TLN-CKD
   apiary; GOLDEN PRAIRIE HONEY FARMS
15 CORPORATION, d/b/a VALOR HONEY, a                      NOTICE OF WITHDRAWAL OF
   Kansas not for profit corporation; and                 COUNSEL
16 KELVIN ADEE, an individual, on behalf of
   themselves, all others similarly situated, and
17 the general public,
                                                          The Honorable Troy L. Nunley
18                           Plaintiffs,

19            v.

20 SUNLAND TRADING, INC.; LAMEX
   FOODS, INC.; ODEM INTERNATIONAL,
21 INC.; BARKMAN HONEY, LLC; DUTCH
   GOLD HONEY, INC.; TRUE SOURCE
22 HONEY, LLC; INTERTEK FOOD
   SERVICES GMBH; and NSF
23 INTERNATIONAL,
24                     Defendants.

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                                                                         Case No. 2:21-CV-00582-TLN-CKD
     SMRH:4888-6355-9999.1                                        NOTICE OF WITHDRAWAL OF COUNSEL
     Case 2:21-cv-00582-DJC-CKD Document 124 Filed 11/22/22 Page 2 of 2


 1 TO THE COURT AND ALL PARTIES OF RECORD:

 2            NOTICE IS GIVEN that Thomas L. Tyson is no longer associated with the law firm of

 3 Sheppard, Mullin, Richter & Hampton LLP and hereby withdraws as counsel for Defendant

 4 Export Packers Company Limited, d/b/a Odem International, in this action. His name should be

 5 removed from any service list, including any list for notification maintained by the Clerk of the

 6 Court and the parties.

 7            Leo D. Caseria and David R. Garcia of Sheppard, Mullin, Richter & Hampton LLP

 8 continue to serve as counsel of record for Defendant Export Packers Company Limited, d/b/a

 9 Odem International, in this action and all future correspondence and papers in this action should

10 continue to be directed to them.

11

12

13 Dated: November 22, 2022

14                                      Respectfully submitted,
15                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
16

17                                      By                         /s/ Leo D. Caseria
18                                                                 LEO D. CASERIA

19                                                         Attorneys for Defendant
                                                  EXPORT PACKERS COMPANY LIMITED, d/b/a
20                                                        ODEM INTERNATIONAL
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     SMRH:4888-6355-9999.1                                        NOTICE OF WITHDRAWAL OF COUNSEL
